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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

_________________________________________________
                                                 )
BEAN LLC d/b/a FUSION GPS                        )
                                                 )
                Plaintiff,                       )
                                                 )
                v.                               )
                                                 )   Civil Action 1:17-cv-2187-RJL
DEFENDANT BANK,                                  )
                                                 )
                Defendant,                       )
                                                 )
                and                              )
                                                 )
PERMANENT SELECT COMMITTEE                       )
ON INTELLIGENCE OF THE U.S.                      )
HOUSE OF REPRESENTATIVES,                        )
                                                 )
                Defendant/Intervenor.            )
_________________________________________________

                          DECLARATION OF STEPHEN A. SALTZBURG

        Pursuant to 28 U.S.C. § 1746, I Stephen A. Saltzburg, hereby declare under penalty of

perjury that the following statements are true to the best of my knowledge and belief:

                                   I. PERSONAL INFORMATION

        1.      I am the Wallace and Beverley Woodbury University Professor at The George

Washington University in Washington, D.C. “University Professor” is the highest rank that

George Washington University bestows. It is a title held by approximately a dozen faculty

members at this time. Prior to becoming the Woodbury University Professor in 2004, I

was the Howrey Professor of Trial Advocacy, Litigation and Professional Responsibility at

the George Washington University from 1990 to 2004. My resume is attached as an Exhibit

to this Declaration.
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       2.     My teaching includes incorporating professional responsibility issues into a

number of courses. I also co-taught the basic course in Professional Responsibility at The

George Washington University Law School.

       3.     I am the Director of the National Trial Advocacy College at the University of

Virginia Law School, and have held the position as Director or Co-Director for 36 years.1

For 34 years, I taught a two-hour professional ethics segment in the Trial Advocacy

College.2 For many years I co-chaired the ALI-ABA annual program in Trial Evidence in

Federal and State Courts, and actively participated in and helped to design the ethics

segment of that program.

       4.     In 1987-1988, I served as Associate Independent Counsel in the Iran-Contra

Investigation. In 1988-1989, I served as Deputy Attorney General in the Criminal Division

of the Department of Justice. In 1989-1990, I was the Attorney General’s ex officio

representative on the United States Sentencing Commission. In 1994-1995, I was

appointed by the Secretary of Treasury to be the first and only Director of the Tax Refund

Fraud Task Force.

       5.     The Chief Justice of the United States appointed me Reporter for the Advisory

Committee on the Federal Rules of Criminal Procedure, a position in which I served from

1984-1989. I resigned when I was working in the Department of Justice, and when I left

1  Before coming to the George Washington University in 1990, I held the Class of 1962
Endowed Chair at the University of Virginia Law School where I started teaching in 1972.
2   I also teach courses for lawyers. For example, I co-taught a seminar on depositions for
the Virginia Trial Lawyers Association on May 3, 2007 in Fairfax County, VA, which
included a section on “Ethical and Effective Witness Preparation.” In June 2014 and in June
2016 I lectured on professional ethics to the annual ABA Aviation Law Section. I am
scheduled to do so again March 2018.

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the Department the Chief Justice appointed me as a member of the Advisory Committee,

and I served in that capacity from 1990 to 1995.

       6.      In the past I have been asked by law firms and individual lawyers to advise

them on issues related to professional standards governing lawyers. I have done so for

large and small firms. I have also developed and offered in-house training on professional

responsibility for lawyers.

       7.     I have testified as an expert both for and against lawyers on professional

responsibility issues.

                                II. RETENTION IN THIS CASE

       8.     I was asked by the law firm, Zuckerman Spaeder, and specifically by Steven M.

Salky, Esq. to offer an opinion in response to the Intervenor’s repeated statements that

“Fusion GPS has established a pattern and practice of using law firms as intermediaries to

mask the true beneficiaries of its research,” 3 and specifically to opine on the accuracy of

Plaintiff’s statement in response that “[l]aw firms, on behalf of their clients, contract with

third parties on a confidential basis, during ongoing litigation and in situations in which

litigation is reasonably foreseeable” and “[s]uch work occurs every day, all over the

country.”4

                                       III. MY OPINION

       9.     My opinion is as follows: (1) The statements that “[l]aw firms, on behalf of

their clients, contract with third parties on a confidential basis, during ongoing litigation

3   Doc. 35-2, Exhibit B to Notice of Filing Redacted Versions of Documents.
4  Doc. 23-1, Memorandum of Points and Authorities in Support of Plaintiffs’ Renewed
Application for Temporary Restraining Order and Motion for Preliminary Injunction, at 9.

                                               3
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and in situations in which litigation is reasonably foreseeable” and “[s]uch work occurs

every day, all over the country” are accurate descriptions of what lawyers and law firms

throughout the United States do on a regular basis. (2) Law firms or lawyers commonly

hire third parties to assist them in investigating matters on behalf of their clients; they

typically prefer to retain these third parties themselves rather than have clients retain

them; and they do so for good reasons that have nothing to do with third parties “using law

firms or lawyers as intermediaries to mask the true beneficiaries of [their] research.” In

the paragraphs below, I explain my opinion.

                         IV. REASONS SUPPORTING THE OPINION

       10.     The first reason why lawyers and law firms prefer to retain third parties to

assist in investigations on behalf of clients (and the most common and important reason) is

that in many cases lawyers and law firms can share otherwise privileged information with

the third parties they retain so that they make the third parties part of the legal team and

preserve attorney-client privilege.

       11.     One early case upholding such a practice as legitimate is United States v.

Kovel, 296 F.3d 918 (2d Cir. 1961) (using an accountant to assist a lawyer in providing legal

services). It is widely cited by other courts and has been applied to third parties other than

accountants.

       12.     The United States Court of Appeals for the District of Columbia Circuit has

followed Kovel. See. e.g., Federal Trade Commission v. TRW, Inc., 628 F.2d 207, 212 (D.C. Cir.

1980)(“[a] line of appellate cases beginning with Judge Friendly's opinion for the court in

United States v. Kovel, 296 F.2d 918 (2d Cir. 1961), has recognized that the attorney-client

privilege can attach to reports of third parties made at the request of the attorney or the
                                               4
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client where the purpose of the report was to put in usable form information obtained from

the client”).

       13.      If the client hires an investigator there is no privilege protecting the

communications from the client to the investigator. See, e.g., Cavallaro v. United States, 284

F.3d 236, 241 (1st Cir. 2001) (no privilege where client hired accounting firm to provide tax

advice, not to assist lawyer in providing legal advice); United States v. Adlman, 68 F.3d 1495,

1500 (2d Cir. 1995) (same). There is, therefore, good reason for a lawyer or a law firm to

hire the third party and to bring that third party under the umbrella of attorney-client

privilege.

       14.      The reality of law practice today is that lawyers and law firms do not possess

expertise in every subject that might be relevant to representation of a client. They

frequently need the help of third parties who possess the expertise that the lawyers lack.

One writer described this reality well:


              In today's sophisticated and evolving financial world, which includes
       complex tax laws and regulations, it is extremely challenging for an attorney
       to maintain proficiency in his or her specific areas of legal expertise and also
       acquire competency in economics and accounting. The highly skilled criminal
       defense attorney may know his or her way around the courtroom, have a
       firm command of the rules of evidence, and be able to determine what a juror
       had for lunch based on the juror's facial expression. However, does the
       defense attorney know the timing and character of certain types of income
       described in Title 26 of the U.S. Code? Can the attorney accurately determine
       the tax loss associated with a tax evasion count in a federal indictment?

               Just as an attorney who does not speak Spanish would rely on an
       interpreter in advising his Spanish-speaking client with respect to criminal
       law procedures, an attorney should rely on an accountant to interpret
       complex and complicated tax concepts to properly dole out legal advice to his
       client charged with a financial or tax crime. However, using an accountant
       properly in defending a client in a criminal matter requires a strategy and
       knowledge of the parameters of the attorney-client privilege.
                                                 5
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Martin A. Schainbaum, Cover Story: The Scope and Limitations of the Kovel Accountant, 40

Champion 26 (2016). The same rationale applies to third parties other than accountants.

       15.    A couple of examples from my own experience illustrate how sharing of

information might occur. I have had an investigator participate in interviewing a client.

The investigator might have much greater expertise than I in the subject matter of a

representation and might help me assure that I am able to elicit complete information from

a client. In addition, I can share with the investigator things a client has told me so that the

investigator is in a position to determine whether the client’s information can be verified.

In these circumstances, I make clear that the investigator is working for me as part of the

legal team, and the investigator assists me just as associates, paralegals and secretaries in a

firm assist lawyers.

       16.    Second, a desire to rely on the work product doctrine explains why lawyers

or law firms want to rely on the expertise of third parties in representing their clients and

take pains to make the third parties part of the legal team. The attorney-work product

doctrine has its roots in the Supreme Court’s decision in Hickman v. Taylor, 329 U.S. 495

(1947). The Court reasoned that “[w]e . . . agree that the memoranda, statements and

mental impressions in issue in this case fall outside the scope of the attorney-client

privilege and hence are not protected from discovery on that basis”; “[b]ut the impropriety

of invoking that privilege does not provide an answer to the problem before us”; “[h]ere is

simply an attempt, without purported necessity or justification, to secure written

statements, private memoranda and personal recollections prepared or formed by an

adverse party's counsel in the course of his legal duties” and “[a]s such, it falls outside the

arena of discovery and contravenes the public policy underlying the orderly prosecution
                                                6
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and defense of legal claims.”5 The Court added that ‘[n]ot even the most liberal of discovery

theories can justify unwarranted inquiries into the files and the mental impressions of an

attorney.”6

       Fed. R. Civ. P. 26 (b)(3) expands work product protection to “documents and

tangible things that are prepared in anticipation of litigation or for trial by or for another

party or its representative (including the other party's attorney, consultant, surety,

indemnitor, insurer, or agent).” Even though the rule protects not only work done by

lawyers and extends to third parties who are representatives of a client, there is a work

product advantage to having the lawyer or law firm hire the third party. The rule provides

that "[i]f the court orders discovery of those materials, it must protect against disclosure of

the mental impressions, conclusions, opinions, or legal theories of a party's attorney or

other representative concerning the litigation.” On its face the rule would seem to treat

third parties investigators hired by clients the same as investigators hired by lawyers or

law firms. But, the Supreme Court in Hickman, supra at 508-510, and later in Upjohn Co. v.

United States, 449 U.S. 383, 401-401 (1981), hinted that the mental impressions of

attorneys (as opposed to others) as reflected in notes and memoranda might never be

discoverable. Thus lawyers and law firms assure that they receive the maximum work

product protection when they hire third parties in anticipation of litigation and are

responsible for the strategies pursued by the third parties. See also United States v. Adlman,

68 F.3d 1495, 1501-1502 (2d Cir. 1995).



5   329 U.S. at 508-509.
6   Id. at 510.

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        17.   Third, a lawyer or law firm hiring a third party can and should direct how the

third party will proceed to do an investigation. This protects the client from being liable for

hiring an investigator who engages in conduct that might expose the client to some form of

liability or that might embarrass the client. This does not mean that a lawyer or law firm

must micromanage the third party. Often the lawyer or law firm will merely provide some

guidance as to how the third party should proceed.

        18.   Fourth, a lawyer or law firm hiring a third party to investigate is much better

able than the client to assess whether evidence discovered by the third party is likely to be

admissible or useful even if not admissible. The lawyer also can direct the third party as to

the best ways to document information so that it can be presented in a form most useful to

the client.

        19.   Fifth, a lawyer or law firm might conclude that more than one type of

expertise would assist the legal team in representing a client. By bringing more than one

expert under the umbrella of attorney-client privilege and attorney work product, the

lawyer or law firm enables the experts to speak as part of the legal team and to exchange

information that might not be protected were the lawyer or law firm not in charge of the

team.

                                    IV.    CONCLUSION

        20.   The reasons stated in paragraphs 10 thru 19, supra, explain the opinions I

offer in paragraph 9, supra. My opinion and reasons describe why prudent lawyers and law

firms throughout the country routinely hire third parties, including investigators, to assist




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them in representing clients. I offer no opinion as to the specific motives of any individual

law firm or lawyer.



Date: November 27, 2017                    /s/Stephen A. Saltzburg




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                   EXHIBIT
       RESUME OF STEPHEN A. SALTZBURG
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                              RESUME
                      STEPHEN ALLAN SALTZBURG
           WALLACE AND BEVERLEY WOODBURY UNIVERSITY PROFESSOR

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PRESENT TEACHING POSITIONS
Wallace and Beverley Woodbury University Professor of Law, George Washington
University
Director, National Trial Advocacy College at the University of Virginia

FORMER TEACHING POSITIONS
Howrey Professor of Trial Advocacy, Litigation and Professional Responsibility,
      George Washington University Law School, 1990-2004
University of Virginia School of Law, 1972-1990, Class of 1962 Chairholder, 1987-
1990

SUBJECTS TAUGHT
Civil Procedure, Constitutional Law, Criminal Law, Criminal Procedure, Evidence,
Trial
       Advocacy

EDUCATION
A.B., Dickinson College, 1967; J.D., University of Pennsylvania, 1970

CLERKSHIPS
Honorable Stanley A. Weigel, (ND/CAL), 1970 - 71
Honorable Thurgood Marshall, 1971 - 72

GOVERNMENT SERVICE
       Executive
Director, Tax Refund Fraud Task Force, U.S. Treasury Department, 1994 - 1995
U.S. Department of Defense Code Committee, 1989 - 1992
Ex Officio Member, U.S. Sentencing Commission, 1989 - 1990
Deputy Assistant Attorney General, Criminal Division, 1988 - 1989
Associate Counsel, Office of Independent Counsel, 1987 - 1988
Member, Military Justice Act of 1983 Commission, 1984-1985
       Judiciary
Mediator, United States Court of Appeals for the District of Columbia Appellate
       Mediation Program, 1992 - Present
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ABA Liaison to Federal Rules of Evidence Restyling Committee, 2010-2012
Special Master, Seroquel MDL, U.S. District Court for the Middle District of Florida,
       2009-2011
Special Master, The Diversified Group, Inc. v. Paul Daugerdas, U.S. District Court for
       the Southern District of New York (attorney-client and work product issues),
       2003
Co-Chair, Third Circuit Task Force on Selection of Class Counsel, 2001-2002
Special Master, Hartman v. Powell, U.S. District Court for the District of Columbia
(class
       action employment case), 1991 - 2000
Special Master, Hammon v. Barry, U.S. District Court for the District of Columbia
       (class action employment case), 1990 - 1994
Mediator, Cobell v. Babbitt, U.S. District Court for the District of Columbia, 1999
Chair, U.S. District Court for the District of Columbia Civil Justice Reform Act
       Advisory Group, 1994 – 1999
Member, Advisory Committee on Federal Rules of Criminal Procedure, 1990 - 1995
Liaison Member from Advisory Committee on Federal Rules of Criminal Procedure
       to Advisory Committee on Federal Rules of Evidence, 1993- 1995
Reporter, U.S. District Court for the District of Columbia Civil Justice Reform Act
       Advisory Group, 1991- 1993
Reporter, Advisory Committee on Federal Rules of Criminal Procedure, 1984 - 89
Co-Chairman and Reporter of the Virginia Supreme Court's Advisory Committee on
       Rules of Evidence, 1984 - 1985

MEDIATION AND ARBITRATION
Mediator--Antitrust, Civil Rights, Contracts (Commercial and Government),
       Defamation, Disability, Employment, Environmental, Family Law, Fraud,
       Intergovernmental, Securities
Arbitrator--United States Cases; International Chamber of Commerce

PUBLIC SERVICE
Chair, ABA Criminal Justice Section Committee on Trial Advocacy, 1990-1996
Chair, ABA Criminal Justice Section, 2007-2008
Member, ABA Criminal Justice Standards Committee, 1996-1999
Member, ABA House of Delegates 2001-Present
Chair, ABA Justice Kennedy Commission, 2003-2004
Co-Chair, ABA Commission on Effective Criminal Sanctions 2005-2008
Vice-Chair, ABA Litigation Section Committee on Trial Evidence, 1991-1995
Member, ABA Litigation Section Council, 2001-2004
Co-Chair, ABA Litigation Section Task Force on Civil Trial Standards, 1997-1998
Chair, ABA Litigation Section Task Force on the Independent Counsel Statute, 1997-
1999
Member, ABA Special Committee on the Prosecution Function, 1991-1993

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Member, ABA Task Force on the Treatment of Enemy Combatants, 2002-2009
Member, ABA Task Force on Gatekeeper Regulation and the Profession, 2002-2010
Member, ABA Task Force on Terrorism and the Law, 2001-2002
ABA Task Force on Domestic Surveillance in the Fight Against Terrorism, 2006-
2009
Reporter, American College of Trial Lawyers Task Force on Litigation Issues, 1986-
1988
Member, NIJ Less than Lethal Liability Panel, 1993 - 2004
Reporter, National Committee to Prevent Wrongful Executions, 2000-2002

HONORS
Honorary Faculty Member, Judge Advocate General School, Charlottesville, Virginia
Recipient, William J. Brennan, Jr. Award, University of Virginia Trial Advocacy
Institute
Member, Fellow of the American Bar Foundation, 1993 - Present
2000 ALI-ABA Francis Rawle Award for Outstanding Contributions to Post-Grad
        Legal     Education
2011 Burton Award Distinguished Award Recipient: Reform in Law
BAR MEMBERSHIPS
California, 1971; District of Columbia, 1972; Virginia, 1977



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List Supplied Upon Request




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       Third Edition 1988), (Co-Author: Fourth Edition 1992, Fifth Edition 1996,
       Sixth Edition 2000, Seventh Edition 2004, Eighth Edition 2007, Ninth Edition
       2010, Tenth Edition 2014)
Basic Criminal Procedure (Co-Author: First Edition 1994, Second Edition 1997,
       Third Edition 2003, Fourth Edition 2005, Fifth Edition 2009, Sixth Edition,
       2012)
California and Federal Evidence Trial Book (Co-Author1999)
Criminal Law: Cases and Materials (Co-Author: First Edition 1994, Second Edition
       2000, Third Edition 2008)
Emerging Problems Under the Federal Rules of Evidence (Reporter: First Edition
       1983, Second Edition 1991), (Contributing Editor: Third Edition 1998)
Evidence in America (4 Volumes) (Co-Author 1987)
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       2002, Third Edition 2007, Fourth Edition 2011)
Evidence Supplement: Rules, Statutes, Commentary (1980)
Federal Criminal Jury Instructions (Co-Author) (3 Volumes, First Edition 1985,
       Second Edition 1991)
Federal Criminal Procedure Litigation Manual (Co-Author: 2011, 2012, 2013, 2014,
       2015)
Federal Rules of Evidence Manual (Co-Author: First Edition 1975, Second Edition
       1977, Third Edition 1982, Fourth Edition 1986, Fifth Edition 1990, Sixth
       Edition 1994, Seventh Edition 1998, Eighth Edition 2002, Ninth Edition 2006,
       Tenth Edition 2011)
Federal Rules of Evidence Manual: The Trial Book (1998)
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       Procedure (Collaboration 1989)
Military Evidentiary Foundations (Co-Author: First Edition 1994, Second Edition
       2000, Third Edition 2007, Fourth Edition 2010)
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       1986, Third Edition 1991, Fourth Edition 1997, Fifth Edition 2003, Sixth
       Edition 2007; Seventh Edition 2011)
A Modern Approach to Evidence (Co-Author: First Edition 1977, Second Edition
1982)
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Texas Rules of Evidence Trial Book (Co-Author: First Edition 2000, Second Edition
       2010, Third Edition 2015)
Trial Tactics (First Edition 2007, Second Edition 2009, Third Edition 2012)
Trying Cases to Win: Anatomy of a Trial (Co-Author 1999)
Trying Cases to Win: Evidence: Weapons for Winning: Hearsay, Confrontation (Co-
       Author 2003)
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       Motions in Limine, Voir Dire, Depositions (Co-Author 2000)
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      Complex Cases, 3 The Sedona Conference Journal 185-197 (Fall 2002)

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